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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al.,                  )
                                            )
       Plaintiffs,                          )
                                            )
v.                                          )        Case No. 16-2105-JAR-JPO
                                            )
KRIS KOBACH, in his official capacity as )
Secretary of State for the State of Kansas, )
                                            )
       Defendant.                           )
___________________________________ )

    DEFENDANT’S MOTION TO ENFORCE PROTECTIVE ORDER AND ENJOIN
                     PLAINTIFFS’ COUNSEL FROM
          PUBLICLY DISSEMINATING VIDEOTAPE OF DEPOSITION

       On Monday September 10, 2018, ACLU and Dechert counsel announced to defense trial

counsel their intention to publicly disseminate to the national media the sealed, confidential

videotape of the discovery deposition of Secretary of State Kobach. Unfortunately, ACLU

counsel has ignored our request to abide by the Protective Order entered in this case on March

29, 2016 and has shown blatant disregard for this Court’s rulings at trial on March 9, 2018. For

reasons explained below, Defendant seeks enforcement of the Protective Order and of this

Court’s oral orders at trial on March 9, 2018 and requests a court order immediately enjoining

plaintiffs’ counsel from publicly disseminating the videotape to the media and public.

       A memorandum in support is filed separately.

Date: September 14, 2018                             Respectfully submitted,

                                                     /s/ Sue Becker
                                                     Sue Becker, Kansas Bar No. 27806
                                                     Garrett Roe, Kansas Bar No. 26867
                                                     KANSAS SECRETARY OF STATE’S OFFICE
                                                     120 S.W. 10th Ave.
                                                     Topeka, KS 66612
                                                     Telephone: (785) 296-4575
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                                                      Facsimile: (785) 368-8033
                                                      Email: sue.becker@ks.gov
                                                             garrett.roe@ks.gov

                                                      Trial Attorneys for Defendant Kobach

                                 CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on the 14th day of September, 2018, I

electronically filed the above and foregoing document using the CM/ECF system, which

automatically sends notice and a copy of the filing to all counsel of record.



                                              /s/ Sue Becker
                                              Sue Becker
                                              Attorney for Defendant Kobach
